     Case 3:21-cv-02073-G Document 1 Filed 08/31/21                  Page 1 of 6 PageID 1



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

ZURICH AMERICAN INSURANCE                             §
COMPANY a/s/o Jindal Tubular USA, LLC                 §
                       Plaintiff                      §
V.                                                    §       CIVIL ACTION NO. 3:21-cv-2073
                                                      §
UNION PACIFIC RAILROAD COMPANY                        §
                    Defendant                         §


                             PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:
       Plaintiff Zurich American Insurance Company a/s/o Jindal Tubular USA, LLC, files its

Original Complaint against Defendant UNION PACIFIC RAILWAY COMPANY and would respectfully

show as follows:

                                        INTRODUCTION

       1.      This action involves a claim against Defendant for damage to eleven (11) large

pipes (the Cargo) suffering damage as a result of a derailment while in transit in this District. The

Cargo originated in Port Bienville, Mississippi and was to be delivered to Monahans, Texas. The

pipes were damaged and Plaintiff paid $156,673 to its insured who had a deductible of $5,000 for

a total claim of $161,673.

                                            PARTIES

       2.      Plaintiff Zurich American Insurance Company (ZAIC) is a New York corporation

engaged in the insurance business with a statutory home office located at 4 World Trade Center,

150 Greenwich Street, New York, NY 10007, and its principal place of business located at 1299

Zurich Way, Schaumburg, Illinois 60196. It is authorized to transact business and has transacted
     Case 3:21-cv-02073-G Document 1 Filed 08/31/21                  Page 2 of 6 PageID 2



business in Texas and was the insurer of Jindal Tubular USA, LLC, 13092 Seaplane Road, Bay

St. Louis, Mississippi 39520 (Jindal).

       3.      Defendant Union Pacific Railroad Company (UP) is a Delaware corporation with

its principal place of business located at 1400 Douglas Street, Omaha, Nebraska 68179 with the

power to sue and be sued and which is regularly doing business in Texas and the United States and

is a railroad common carrier of goods for hire and bailee for hire. UP can be served through its

registered agent: CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                  JURISDICTION & VENUE

       4.      Plaintiff’s complaint contains causes of action for damage to cargo falling under

the Carmack Amendment to the Interstate Commerce Act, 49 U.S.C. § 11706, and is therefore

within the jurisdiction of this Court pursuant to 28 U.S.C. §1331, as more fully appears herein.

The Court also has jurisdiction under 28 U.S.C. §1332 because the matter in controversy exceeds

the sum of value of $75,000, exclusive of interest and costs, and is between citizens of different

states of the United States, or alternatively under 28 U.S.C. §1367. Venue is proper in this District

pursuant to 49 U.S.C. §14706(d)(1) and (2) and pursuant to 28 U.S.C. §1391(b)(2).

                                              FACTS

       5.      On or about June 24, 2020, Defendants, and each of them, received a cargo of large

pipes at Plaintiff’s subrogee’s facility in Port Bienville, Mississippi for transport and delivery to

Monahans, Texas. The Cargo was secured to railcar 142061 as depicted in the images attached as

Exhibits A and B and incorporated herein. The method of securement was consistent with

numerous shipments of identical pipe accepted by UP prior to the derailment described herein.

       6.      Defendants, and each of them agreed in return for good and valuable consideration,

to receive, properly care for, and safeguard said cargo from Port Bienville, Mississippi to




                                                 2
     Case 3:21-cv-02073-G Document 1 Filed 08/31/21                   Page 3 of 6 PageID 3



Monohans, Texas, and there deliver the said cargo in the same good order, condition, and quantity

as when received.

       7.       Thereafter, in breach of and in violation of said agreements and their duties,

Defendants, and each of them, did not deliver said cargo in the same good order, condition, and

quantity as when received. To the contrary, the Cargo was damaged on July 9, 2020 in transit by

a “sideswipe” event as noted by UP and not delivered to the final destination of Monohans, Texas

in the same good order and condition as when tendered for transport. Timely notice of the claim

was provided.

       8.       Prior to the shipment of the herein described cargo and prior to any loss thereto,

Plaintiff ZAIC issued its policy of insurance whereby Plaintiff ZAIC agreed to indemnify the

owner of the Cargo, and its assigns, against loss of or damage to said cargo while in transit, and

Plaintiff ZAIC has therefore become obligated to pay, and has paid, to the person entitled to

payment under said policy the sum of $156,673 to its insured who had a deductible of $5,000 for

the damage to the Cargo.

                                   FIRST CAUSE OF ACTION
                                      (Carmack Liability)

       9.       Plaintiff realleges and incorporates herein with like force and effect every allegation

of paragraphs 5 through 8 as set forth above.

       10.      Plaintiff is informed and believes and alleges that on or around July 5, 2020,

defendant, acting as rail carrier, received a certain cargo of pipe in good order and condition from

its subrogee, Jindal Tubular USA, LLC (“Jindal”). Defendant agreed under contract(s) of carriage

and in return for good and valuable consideration, to carry said cargo to Monhans, Texas and there

deliver said cargo to the lawful owners and others, in the same good order, condition, and quantity

as when received.

       11.      Thereafter, in breach of and in violation of said agreements, defendant did not
deliver said cargo in the same good order, condition and quantity as when received. To the


                                                   3
     Case 3:21-cv-02073-G Document 1 Filed 08/31/21                  Page 4 of 6 PageID 4



contrary, defendant delivered the cargo in damaged condition. The reasonable value of the

damaged/non-delivered cargo, plus incidental expenses, was $161,673, and Plaintiff was damaged

in that amount.

                                SECOND CAUSE OF ACTION
                                    (Breach of Contract)

       12.     Plaintiff realleges and incorporates herein with like force and effect every allegation

of paragraphs 5 through 8 as set forth above. This cause of action is expressly pled in the

alternative in the event the Court holds that there is no statutory cause of action under the Carmack
Amendment against defendant, UP.

       13.     Plaintiff is informed and believes and alleges that on or around July 5, 2020,

defendant UP, acting as rail carrier and/or bailee, received a certain cargo of pipe in good order

and condition from Plaintiff’s subrogee, Jindal Tubular USA, LLC (“Jindal”). Defendant agreed

under contracts(s) of carriage and in return for good and valuable consideration, to carry said cargo

to Monhans, Texas and there deliver said cargo to the lawful owners and others, in the same good

order, condition, and quantity as when received. Jindal was the owner of the subject cargo and a

party to and/or intended beneficiary of the subject contract(s).

       14.     Thereafter, in breach of and in violation of said agreements, defendant UP did not

deliver said cargo in the same good order, condition, and quantity as when received. To the

contrary, defendant UP delivered the cargo in a damaged condition and/or non-delivered the cargo.

The reasonable value of the damaged/non-delivered cargo, plus incidental expenses, was

$161,673, and Plaintiff was damaged in that amount.


                                 THIRD CAUSE OF ACTION
                                       (Negligence)

       15.        Plaintiff realleges and incorporates herein with like force and effect every

allegation of paragraphs 5 through 8 as set forth above. This cause of action is expressly pled in



                                                 4
     Case 3:21-cv-02073-G Document 1 Filed 08/31/21                 Page 5 of 6 PageID 5



the alternative in the event the Court holds that there is no statutory cause of action under the

Carmack Amendment against defendant, UP.

       16.      Defendant UP was negligent in causing and/or permitting the shipment of pipe to

be damaged.     Said negligence includes, without limitation, errors in shipping instructions,

handling, routing, and carriage of the said cargo, among other acts. Plaintiff cannot more

specifically allege Defendants’ acts or omissions constituting negligence.

       17.     To date, defendant UP has failed to provide information or documentation about

how the cargo became damaged other than to mention a “sideswipe” event. Accordingly, Plaintiff

expects that discovery will turn up additional factual grounds for negligence, and Plaintiff invokes

and relies upon the doctrine of res ipsa loquitor because the character of the loss was such that it

would not have happened in the absence of negligence, and the instrumentality causing the

occurrence was exclusively within the Defendants’ control.

       18.     As a direct and foreseeable consequence of defendant’s negligence, the said cargo

became damaged and unfit for its intended purpose. As a result, Plaintiff was damaged in the

amount of $161,673 no part of which has been paid, despite demand therefor.

                                           DAMAGES

       19.      As a direct and proximate result of Defendants’ negligence, carelessness, lack of

due care, breach of duty or breach of contract, Plaintiff has sustained damages of a total claim of

$161,673, together with interest and costs of this action, none of which has been paid by

Defendants despite due demand.

       20.     Plaintiff ZAIC is a fully subrogated insurer and assignee with standing to recover

for the damaged Cargo.

       Wherefore, Plaintiff Zurich American Insurance Company, prays that Defendants be cited

to answer and appear and that upon final trial, Plaintiff has, among other things:




                                                 5
Case 3:21-cv-02073-G Document 1 Filed 08/31/21               Page 6 of 6 PageID 6



 a. Judgment against Defendants, Union Pacific Railroad Company for its alleged

    damages of $161,673.

 b. Pre-judgment interest dated from July 9, 2020;

 c. Post-judgment interest;

 d. Attorney’s fees;

 e. Court costs, and

 f. Such other and further relief to which Plaintiff may be justly entitled.

                                       Respectfully submitted,

                                       W. SEAN O'NEIL, ATTORNEY AT LAW

                                       /s/ W. Sean O’Neil
                                       W. Sean O’Neil
                                       Attorney-in-Charge
                                       Texas State Bar No. 24033807
                                       1880 S. Dairy Ashford St., Suite 208
                                       Houston, Texas 77077
                                       Telephone:    (281) 496-0193
                                       Telefax:      (281) 496-0680
                                       Email:        wsoneil@wsolaw.com
                                       ATTORNEY FOR PLAINTIFF




                                          6
